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                EXHIBIT A
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                                                               Execution Version




                       LIMITED LIABILITY COMPANY AGREEMENT

                                           OF

                                    BGN TECH LLC

                              Dated as of February 21, 2014




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                       LIMITED LIABILITY COMPANY AGREEMENT
                                          OF
                                    BGN TECH LLC


              This LIMITED LIABILITY COMPANY AGREEMENT (this “Agreement”) of
BGN TECH LLC (the “Company”) is made and entered into as of February 21, 2014, by and
among Givaudan SA, a company existing under the laws of Switzerland (“Givaudan”), and
Phyto Tech Corp. d/b/a Blue California, a California corporation (“Blue Cal”), the Company
and each Person who may hereafter be admitted as a Member in accordance with the terms of
this Agreement.

               WHEREAS, the Company was formed as a limited liability company pursuant
to and in accordance with the Act by the filing of a certificate of formation (the “Certificate”)
with the Secretary of State of the State of Delaware on February 13, 2014;

             WHEREAS, the Members wish to operate the Company for the purpose of
developing, manufacturing, marketing and/or selling certain products;

               WHEREAS, concurrently with the execution of this Agreement, Blue Cal is
contributing to the Company the Blue Cal Initial Contributed IP (as defined below) pursuant
to the terms and conditions of the Blue Cal Initial IP Contribution Agreement (as defined
below); and

               WHEREAS, concurrently with the execution of this Agreement, Givaudan is
contributing to the Company                                      in cash and (ii) the
Givaudan Contributed IP (as defined below) pursuant to the terms and conditions of the
Givaudan IP Contribution Agreement (as defined below).

              NOW, THEREFORE, in consideration of the mutual covenants contained herein
and other good and valuable consideration, the receipt and sufficiency of which are hereby
acknowledged, the parties hereto, intending to be legally bound, hereby agree as follows:

                                          ARTICLE I

                                           Definitions

                Section 1.01 Definitions. Capitalized terms used in this Agreement and not
otherwise defined herein shall have the respective meanings ascribed thereto in this Article I.
Other terms may be defined elsewhere in the text of this Agreement and, unless otherwise
indicated, shall have such meaning throughout this Agreement.

                 “Act” means the Delaware Limited Liability Company Act, 6 Del. C. §§ 18-
101, et seq.

               “Affiliate” of a Person means any Person that directly or indirectly controls, is
controlled by, or is under common control with the Person in question, except that neither




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Member nor any Affiliate of any Member shall be deemed to be an Affiliate of any other
Member solely by virtue of the Member’s Membership Interest. The term “Affiliated” and
similar variations shall have correlative meanings. For purposes of this Agreement, “control”
(including with correlative meanings, the terms “controlling,” “controlled by” or “under
common control with”) as used with respect to any Person, shall mean the possession, directly
or indirectly, of the power to direct or cause the direction of the management and policies of
such Person, whether through the ownership of voting securities, by contract or otherwise.

              “Ancillary Agreements” means the Blue Cal Initial IP Contribution Agreement,
the Blue Cal Second IP Contribution Agreement, the Givaudan IP Contribution Agreement,
any Blue Cal Background Licensed IP License, any Blue Cal Future Licensed IP License and
the Blue Cal Services Agreement.

               “Assignee” means a Person to whom Membership Interests have been
Transferred in accordance with Article VIII but who has not become a substituted Member in
accordance with Section 8.03(a).

               “Available Cash” means, as of any date, the amount of cash and cash
equivalents which the Board deems available for distribution to the Members, taking into
account all debts, liabilities, and obligations of the Company then due, including the
Company’s obligations with respect to Givaudan’s Payment Claims and Blue Cal’s Payment
Claims, and working capital and other amounts which the Board deems necessary for the
Company’s business or to place into reserves for customary and usual expenditures or claims
with respect to such business.

                 “Bankruptcy Event” means, with respect to any Person or its Controlling
Affiliates: (i) such Person or any of its Controlling Affiliates makes an assignment for the
benefit of creditors; (ii) such Person or any of its Controlling Affiliates files a voluntary
petition in bankruptcy; (iii) such Person or any of its Controlling Affiliates is adjudged
bankrupt or insolvent, or has entered against it an order for relief in any bankruptcy or
insolvency proceeding; (iv) such Person or any of its Controlling Affiliates files a petition or
answer seeking for itself any reorganization, arrangement, composition, readjustment,
liquidation, dissolution or similar relief under any law; (v) such Person or any of its
Controlling Affiliates files an answer or other pleading admitting or failing to contest the
material allegations of a petition filed against it in any proceeding of the foregoing nature; (vi)
such Person or any of its Controlling Affiliates seeks, consents to or acquiesces in the
appointment of a trustee, receiver or liquidator of such Member or all or any substantial part
of its properties or (vii) one hundred and twenty (120) days after the commencement of any
proceeding against such Person or any of its Controlling Affiliates seeking reorganization,
arrangement, composition, readjustment, liquidation, dissolution or similar relief under any
law, the proceeding has not been dismissed, or if within ninety (90) days after the appointment
without its consent or acquiescence to the appointment of a trustee, receiver or liquidator of
such Person or any of its Controlling Affiliates or of all or any substantial part of such
Person’s or its Controlling Affiliates’ properties, the appointment is not vacated, stayed, or
within ninety (90) days after the expiration of any such stay, the appointment is not vacated.




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                 “Blue Cal Contributed IP” means




               “Blue Cal Background Licensed IP” means any and all Intellectual Property
owned by Blue Cal or its Affiliates (other than the Blue Cal Contributed IP and any Blue Cal
Future Licensed IP), including the Intellectual Property set forth on Schedule G, that may be
licensed to the Company on a worldwide, transferable, royalty-free, sublicensable, non-
exclusive basis within the Field in accordance with the provisions of Section 3.08.




               “Blue Cal Initial IP Contribution Agreement” means the agreement dated as of
the date hereof entered into by and between Blue Cal and the Company, pursuant to which the
Blue Cal Initial Contributed IP is assigned and contributed to the Company.

             “Blue Cal’s Payment Claims” means each of the payments, if any, required to
be made to Blue Cal or its Affiliates by the Company under the Ancillary Agreements.

               “Blue Cal Second IP Contribution Agreement” means the agreement that shall
be entered into by and between Blue Cal and the Company, pursuant to which the Blue Cal
Second Contributed IP is assigned and contributed to the Company.




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               “Blue Cal Services Agreement” means the agreement pursuant to which Blue
Cal’s obligations with respect to the research and development services that it shall provide to
the Company in furtherance of the Company’s purpose shall have been set forth as one of the
conditions precedent for first Givaudan Milestone Payment which is provided in Schedule D-
1.

              “Business” means, to the extent permitted by law, (a) the business of
developing, manufacturing, marketing and/or selling Company Products, (b) conducting the
Company activities contemplated by this Agreement and the Ancillary Agreements and (c)
conducting any other ancillary activities that are approved by the Board.

               “Business Day” means any day that is not a Saturday, Sunday or other day on
which banking institutions in Geneva, Switzerland, New York, New York or Los Angeles,
California are authorized or required by law or executive order to close.

               “Capital Contribution” means the contribution or deemed contribution in cash
or property (including Intellectual Property) the capital of the Company made by or on behalf
of a Member.

                “Change of Control” means, with respect to any Person, (i) any change in the
ownership of the equity securities of such Person if, immediately after giving effect thereto,
any Person (or group of Persons acting in concert) other than such initial Person or its
Affiliates will have the direct or indirect power to (A) elect a majority of the members of the
board of directors (or similar governing body) or (B) direct or cause the direction of the
management and policies of such initial Person and/or (ii) any sale or other disposition of all
or substantially all of the assets of such initial Person (including by way of a merger or
consolidation or through the sale of all or substantially all of the equity interests or assets of
such Person’s Subsidiaries) to another Person.

                In the event of the occurrence of a Change of Control of any Member, the
definitions of “Change of Control” and, if applicable, “Permitted Transferees” and, if
applicable, Section 1.03(b) shall be modified appropriately by good faith agreement of the
Members to reflect the new holders, direct and indirect, of the affected Membership Interests.

                 “Code” means the Internal Revenue Code of 1986.

                “Commercially Exploit” means to make, have made, import, use, sell or offer
for sale, including to research, develop, commercialize, register, submit for regulatory
approval, promote or market.

               “Common Units” means the common membership interests in the Company
with the corresponding rights and obligations set forth herein.

                “Company Products” means any products or other materials within the Field,
directly or indirectly developed by the Company.




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              “Competitor” means any Person that directly or indirectly owns, operates,
controls or manages any Person or business that develops, manufactures, distributes or sells
any products or other materials that compete with Company Products anywhere in the world.

            “Contributed IP” means, collectively, the Blue Cal Contributed IP and the
Givaudan Contributed IP.

               “Controlled Affiliate” means, with respect to any Person, any Affiliate of such
Person that is directly or indirectly, through one or more intermediaries, controlled by such
Person.

               “Controlling Affiliate” means, with respect to any Person, any Affiliate of such
Person that directly or indirectly, through one or more intermediaries, controls such Person.




               “Covered Person” means a Member, Director, officer or Affiliate of any
Member and any officers, directors, stockholders, partners, members, employees,
representatives or agents of a Member or its Affiliates, or any Person who was, at the time of
the act or omission in question, such a Person.

              “Directors” means, collectively, the Givaudan Directors, the Blue Cal Directors
and the CEO Director, and “Director” means any one of the foregoing and any individual
appointed by a Member to manage the activities and affairs of the Company as a member of
the Board pursuant to Article VII.

                 “Effective Date” means the date hereof.

                “Excluded Securities” means the following equity securities of the Company or
any of its Subsidiaries, as applicable: (a) equity securities offered pursuant to a registration
statement filed under the Securities Act; (b) equity securities issued to a third party that is not
an Affiliate of the Company or any of the Members in consideration of the acquisition of
another Person or business by the Company or any of its Subsidiaries, whether by merger,
consolidation, amalgamation, recapitalization, exchange of shares or membership interests, the
purchase of substantially all of the assets or otherwise; (c) equity securities issued or sold to


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any consultant to, or officer, director or employee of, the Company or any of its Subsidiaries
(other than Persons who are employees of (x) Givaudan or (y) Blue Cal pursuant to any
compensation arrangement adopted by the Board from time to time, option plan or other plan
for the benefit of officers, directors and employees of the Company or any of its Subsidiaries,
and Units issued upon the exercise of such options or rights or otherwise issued pursuant to
any such plan; (d) equity securities issued to the Company’s equityholders upon any split of
membership interests, dividend, combination or other similar event with respect to the
Company’s equity securities or upon the conversion of any equity security of the Company
into another equity security in accordance with its terms; and (e) equity securities issued to
any third party lender of the Company or any of its Subsidiaries, which is not an Affiliate of
the Company or any of the Members, in connection with any debt financing approved by the
Board.

               “Fair Market Value” of any equity securities or other property, means (whether
determined by the Board or Investment Bank) means the price at which such equity securities
or other property would likely be sold in an arm’s-length transaction between a willing and
able buyer under no compulsion to buy and a willing and able seller under no compulsion to
sell (without any discount for non-marketability, minority position or liquidity restrictions).
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                                                                                              ,




                “Funding Date” means, with respect to any Additional Capital Contribution, the
date set forth in the applicable Funding Notice for funding such Additional Capital
Contribution.




                “GAAP” means generally accepted accounting principles in the United States,
as in effect from time to time, consistently applied.




                 “Givaudan Contributed IP” means



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              “Givaudan IP Contribution Agreement” means the Givaudan Contribution
Agreement, dated as of the date hereof, by and between Givaudan and the Company, pursuant
to which Givaudan’s equal and undivided interest in the Givaudan Contributed IP is assigned
and contributed to the Company.

              “Givaudan’s Payment Claims” means each of the payments required to be made
to Givaudan or its Affiliates by the Company under the Ancillary Agreements.

                 “Ingredient” means any component part of a mixture or a preparation.

                 “Initial Public Offering” means an underwritten public offering of any equity
securities of the Company or any of its Subsidiaries pursuant to an effective registration
statement under the Securities Act that results in the listing for trading on an internationally
recognized securities exchange or inter dealer quotation system of any equity securities of the
Company or any of its Subsidiaries offered in such public offering.

                “Intellectual Property” means all worldwide (i) inventions whether or not
patentable; (ii) patents and patent applications, together with all divisions, continuations,
continuations-in-part, extensions and reexaminations thereof; (iii) trademarks, service marks,
trade dress, logos, domain names and trade names, whether or not registered, and all goodwill
associated therewith; (iv) copyrights, mask works and related rights, whether or not registered;
(v) computer software, data, databases, files, and documentation and other materials related
thereto; (vi) Trade Secrets, Know-How, confidential technical and business information,
customer and supplier lists, and all personally-identifiable information; (vii) all other rights, of
any nature, similar to the foregoing; and (ix) all rights to sue or recover and retain damages
and costs and attorneys’ fees for past, present and future infringement or misappropriation of
any of the foregoing.

                “Investment Bank” means an internationally recognized independent investment
banking firm to be mutually agreed upon by the Members within thirty (30) days after any
Member shall have requested that the Company engage an Investment Bank in connection
with the determination of the Fair Market Value of any equity securities or other property of
the Company; provided, however, that if the Members cannot agree upon an investment
banking firm within such 30-day period, then the “Investment Bank” shall mean a third
internationally recognized independent investment banking firm which shall be selected by two
investment banking firms, one selected by each Member (each of which shall be selected by
each Member within fifteen (15) days after the end of such initial thirty (30)-day period).

               “Know-How” means any research information, technical information, technical
data or other information, including all unpatented and/or unpatentable inventions, technology,


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cell lines, microbes, microbial strains (e.g., wild type or genetically engineered), molecules,
either captive or in the course of production, biological material, compounds, probes,
sequences and methodologies.




              “Losses” means any and all losses, liabilities, damages, assessments, fines,
judgments, costs and expenses, including reasonable attorney’s fees.

               “Material Breach” means, with respect to any Member, a material breach by
such Member or its Affiliates of this Agreement or any Ancillary Agreement to which such
Person is a party.

                “Member” means Givaudan, Blue Cal and each Person who may hereafter be
admitted as a Member in accordance with the terms of this Agreement. The Members shall
constitute the “members” (as that term is defined in the Act) of the Company.

               “Membership Interest” means an ownership interest in the Company and
includes any and all benefits to which the holder of such Membership Interest may be entitled
as provided in this Agreement, together with all obligations of such Person to comply with the
terms and provisions of this Agreement, and which may be expressed as a number of Units or
as a Percentage Interest.




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               “Percentage Interest” with respect to any Member and any date of
determination, means the percentage obtained by dividing (a) the total number of Units held
by such Member by (b) the total number of Units outstanding, in each case as of such date.

               “Permitted Transferee” has the meaning set forth in Section 8.02(a), subject to
the last sentence in the definition of “Change of Control.”

              “Person” means an individual or a corporation, partnership, limited liability
company, trust, unincorporated organization, association or any other entity.

                 “Securities Act” means the Securities Act of 1933.

               “Subsidiary” of a Person means any other Person (i) as to which such Person
has the power to elect a majority of the board of directors (or other board, body or Person that
serves the function of a board of directors) of such other Person or (ii) which is included as a
subsidiary in the consolidated financial statements of such Person in accordance with GAAP.




                                                     all naturally occurring, synthetically-
produced and biosynthetically-produced compounds, mixtures of compounds, Ingredients,
molecules, compositions, raw materials, intermediates and related technologies (including
components, delivery systems and methods of making anything related thereto) which increase,
augment, intensify, accentuate or magnify the sensory perception of one or more sweetness
characteristics of an orally consumable product without changing the nature or quality thereof
as compared to a corresponding orally consumable product that does not contain such
compound or Ingredient.

              “Term” means the period commencing on the Effective Date and ending on the
date a Company Sale is consummated or the Company is earlier dissolved and terminated in
accordance with the provisions of Article XIII.



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              “Trade Secrets” means any and all technical and operational information,
including product formulae, customer lists, marketing strategies, cost and price information,
processes, management methods and production methods, in each case which is (i) not
generally known to the public, (ii) which has economic value or provides a competitive
advantage and/or (iii) which the owner has taken measures to keep secret.

                “Transfer” means to transfer, sell, assign, convey, pledge, mortgage, encumber,
hypothecate or otherwise dispose of all or any portion of the ownership interest or other rights
in question, irrespective of whether any of the foregoing are effected voluntarily or
involuntarily, directly or indirectly, by merger, sale of equity, operation of law or otherwise.
The terms “Transferred,” “Transferor,” “Transferee” and similar variations shall have
correlative meanings.

              “United States” or “U.S.” means the United States and its territories,
possessions and commonwealths (including Puerto Rico, the United States Virgin Islands and
Guam).




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 Term                                                              Section
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                 Section 1.03 Construction.

                        (a)          For purposes of this Agreement, except as otherwise
expressly provided herein or unless the context otherwise requires: (i) words using the
singular or plural number also include the plural or singular number, respectively, and the use
of any gender herein shall be deemed to include the other genders; (ii) references herein to
“Articles,” “Sections,” “subsections” and other subdivisions, and to Exhibits and other
attachments, without reference to a document are to the specified Articles, Sections,
subsections and other subdivisions of, and Exhibits and other attachments to, this Agreement;
(iii) a reference to a subsection without further reference to a Section is a reference to such
subsection as contained in the same Section in which the reference appears, and this rule shall
also apply to other subdivisions within a Section or subsection; (iv) the words “herein,”
“hereof,” “hereunder,” “hereby” and other words of similar import refer to this Agreement as a
whole and not to any particular provision; (v) the words “include,” “includes” and “including”
are deemed to be followed by the phrase “without limitation” (vi) with respect to the
determination of any period of time, the word “from” means “from and including” and the
words “to” and “until” each means “to but excluding”; (vii) reference to any law, rule or
regulation means such law, rule or regulation as amended, modified, codified, replaced or
reenacted, in whole or in part, and in effect from time to time, including all rules and
regulations promulgated thereunder, and reference to any section or other provision of any
law, rule or regulation means that provision of such law, rule or regulation from time to time


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in effect and constituting the substantive amendment, modification, codification, replacement
or reenactment of such section or other provision; (viii) the word “Dollars” or “$” means
Dollars of the United States of America; and (ix) if the last day for the giving of any notice or
the performance of any act required or permitted under this Agreement is a day that is not a
Business Day, then the time for the giving of such notice or the performance of such action
shall be extended to the next succeeding Business Day. Whenever this Agreement refers to a
number of days, such number shall refer to calendar days unless Business Days are specified.

                        (b)           Unless the context otherwise requires, if a Member directly
Transfers a portion (but not all) of its Membership Interest to a Permitted Affiliate Transferee
and the Permitted Affiliate Transferee is admitted as a Member: (i) such initial Member and
Permitted Affiliate Transferee shall (A) be grouped together and considered a single Member,
(B) act collectively and (C) be represented by such initial Member, who shall have the
authority to represent and bind such Permitted Affiliate Transferee and to receive and provide
all notices on its behalf; (ii) with respect to Givaudan, any references to Member or Givaudan
shall collectively refer to Givaudan and such Permitted Affiliate Transferee; and (iii) with
respect to Blue Cal, any references to a Member or Blue Cal shall collectively refer to Blue
Cal and such Permitted Affiliate Transferee.

                      (c)         Unless the context otherwise requires, if a Member
Transfers its entire Membership Interest in accordance with Article VIII and the Transferee is
admitted to the Company as a substituted Member pursuant to Section 8.03(a), references to
Member, Blue Cal or Givaudan, as applicable, in this Agreement shall mean such substituted
Member, and such substituted Member shall be considered the initial Member for purposes of
Section 1.03(b).

                       (d)          For the avoidance of doubt, the terms of construction set
forth in Sections 1.03(b) and (c) shall be fully applicable (except where they are not applicable
by their terms above) whether or not a particular provision of this Agreement includes or does
not include a specific reference to “Permitted Transferee.”

                      (e)           For purposes of this Agreement, any reference to a defined
term in or provision of any Ancillary Agreement that shall have been terminated as of any
date of determination shall, to the extent consistent with the substantive effect of such
termination, be deemed to be a reference to such defined term or provision as in effect
immediately prior to the termination of such Ancillary Agreement.

                      (f)         For the purposes of this Agreement, although the Company
would be an Affiliate and Controlled Affiliate of each of Givaudan and Blue Cal, the Parties
have agreed that the Company shall not be treated as such for the purposes of this Agreement
or any of the Ancillary Agreements.




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                                         ARTICLE II

                                         Organization

                 Section 2.01 Formation; Continuation. The Company was formed on February
13, 2014 pursuant to the provisions of the Act, upon the filing of the Certificate. Each
Member hereby agrees that the Company shall be governed by, and the rights, duties and
liabilities of the Members shall be as provided in, the Act and this Agreement; provided,
however, that in the event of any inconsistencies in the rights and obligations of the Members
under the Act and this Agreement, then to the maximum extent permitted by law, the terms of
this Agreement shall control.

               Section 2.02 Name. The name of the Company is BGN TECH LLC The
Business may be conducted in the name of the Company or such other names that comply
with applicable law as the Board may select from time to time, subject to compliance with the
Ancillary Agreements.

                Section 2.03 Principal Office. The principal office of the Company is at
30111 Tomas, Rancho Santa Margarita, CA 92688, USA, or at such other location as may be
selected from time to time by the Board. The Company shall keep its books and records at its
principal office. The Board shall give prompt notice to each Member of any change in the
location of the Company’s principal office.

               Section 2.04 Registered Office and Registered Agent. The street address of
the registered office of the Company in the State of Delaware is at 615 South DuPont
Highway, Dover, County of Kent, Delaware 19901 or such other place in the State of
Delaware as may from time to time be designated by the Board in accordance with the Act,
and the Company’s registered agent at such address is National Corporate Research, Ltd.

                 Section 2.05 Purposes and Powers of the Company.

                        (a)           The purpose of the Company is to (i) conduct, to the extent
permitted by law, the Business, engaging, in particular, in developing, manufacturing,
marketing and/or selling certain products, (ii) engage in any and all businesses and activities
directly related, incidental or ancillary thereto and (iii) carry on any lawful business, purpose
or activity permitted under the Act.

                      (b)          The Company shall have the power to do any and all acts
reasonably necessary, appropriate, proper, advisable, incidental or convenient to or for the
furtherance of the purposes and the Business described herein and for the protection and
benefit of the Company, and shall have, without limitation, any and all of the powers that may
be exercised on behalf of the Company by the Board pursuant to this Agreement.

               Section 2.06 Fiscal Year. The fiscal year of the Company shall end on
December 31 of each year (the “Fiscal Year”), and shall be the same for Company accounting
and federal income tax purposes unless otherwise required by the Code. The Fiscal Year of
the Company may be changed by the Board.



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               Section 2.07 Term. The Company commenced on the date the Certificate was
filed pursuant to the Act and shall exist perpetually unless earlier dissolved and terminated in
accordance with the provisions of Article XIII.

               Section 2.08 Limited Liability Company Agreement. Each Member hereby
executes this Agreement for the purpose of establishing the affairs of the Company and the
conduct of its Business in accordance with the provisions of the Act. Each Member
acknowledges that, during the Term, the rights and obligations of the Members with respect to
the Company shall be determined in accordance with the Act and the terms and conditions of
this Agreement; provided, that to the extent that the rights and obligations of either Member
are different by reason of any provision of this Agreement than they would be in the absence
of such provision, this Agreement shall, to the extent permitted by the Act, control.




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                                       ARTICLE IV

                                          Members

               Section 4.01 Voting Rights of Members. Members shall not be entitled to
vote with respect to any matters (other than the Member Approved Matters) except as required
by non-waivable provisions of applicable law or this Agreement. All holders of Common
Units shall vote as a single class upon all matters upon which Members are entitled to vote
under this Agreement or under the Act. On all matters submitted to a vote of the Members,
each holder of Common Units shall be entitled to one (1) vote for each Common Unit held by
such holder; provided, that for purposes of this sentence, any fraction of a Unit shall be
rounded up to the nearest whole Unit if such fraction is equal to or greater than 0.5 and
rounded down to the nearest whole Unit if such fraction is less than 0.5. This provision is in
addition to, and does not affect, any provision of this Agreement or any Ancillary Agreement


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that requires the consent or approval of a Member with respect to a particular matter. Any
action required or permitted to be taken by the Members hereunder or under the Act shall be
taken in accordance with this Article IV.

                 Section 4.02 Meetings of Members.

                       (a)          Meetings of the Members shall be held at such times as the
Board shall from time to time determine or as otherwise required by law. Written notice shall
be given to each Member of each meeting of the Members either personally, by facsimile or
by electronic mail, which notice shall state the place, date, time and purpose of such meeting.
Notice of any meeting need not be given to any Member who shall agree in writing, either
before or after such meeting, to a waiver of notice. Attendance of a Member at a meeting
shall constitute a waiver of notice of such meeting, except when the Member attends the
meeting for the express purpose of objecting at the beginning thereof to the transaction of any
business because the meeting is not properly called or convened.

                       (b)         The Members may hold meetings at the Company’s
principal place of business or such other place as the Board may designate.

                       (c)           Members may participate in a meeting of the Members by
conference telephone or similar communications equipment by means of which all persons
participating in the meeting can hear one another (including by video conference) and such
participation shall constitute presence in person at such meeting.

                        (d)        The Members shall appoint the Person (who shall be an
agent or other representative of a Member present at such meeting) to preside over each
meeting of the Members. The secretary of the Company shall act as secretary at each meeting
of the Members. In case the secretary shall be absent from any meeting of the Members, any
assistant secretary of the Company shall perform the duties of secretary at such meeting or the
person presiding at the meeting may appoint any Person to act as secretary of the meeting.

                       (e)         A quorum of any meeting of the Members shall require the
presence (by telephone or otherwise) of both Members. No action at any meeting may be
taken by the Members unless a quorum is present. No action may be taken by the Members
at any meeting at which a quorum is present without mutual agreement of Blue Cal and
Givaudan. If the Members become deadlocked with respect to the approval of any proposed
matter within the authority of the Members, such matter shall be resolved in accordance with
the dispute resolution procedures set forth in Section 14.08.

               Section 4.03 Proxies. A Member may vote either in person, via conference
telephone or similar communications equipment, or by proxy executed in writing by such
Member. A facsimile or similar transmission by any Member (including a facsimile delivered
by electronic mail), or a photographic, photostatic or similar reproduction of a writing
executed by such Member shall be treated as an execution in writing for purposes of this
Section 4.03. A proxy shall be revocable unless the proxy form conspicuously states that the
proxy is irrevocable.




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                Section 4.04 Action of Members by Written Consent. Any action required or
permitted to be taken at any meeting of the Members may be taken without a meeting, without
prior notice, and without a vote, if a consent in writing, setting forth the action so taken, shall
be signed by all of the Members and the consent is filed with the minutes of the proceedings
of the Members.

                Section 4.05 Liability to Third Parties. No Member, Director or officer shall
be liable for the debts, obligations or liabilities of the Company in their capacity as such.

               Section 4.06 Lack of Authority. Except as specifically provided herein, none
of the Members, in such capacity, shall have the authority or power to act for or on behalf of
the Company, to do any act that would be binding on the Company, or to incur any
obligations or liabilities on behalf of the Company.

                                          ARTICLE V

                                          Distributions

                 Section 5.01 Distributions.

                       (a)          Subject to Section 5.02, the Company shall make
distributions of Available Cash to the Members at such times and in such amounts as the
Board may determine from time to time in its sole discretion. Except as otherwise specifically
provided in Section 8.09, distributions shall be made to all Members in proportion to their
Percentage Interests.

                     (b)         Distributions to each Member pursuant to this Agreement
shall be made pursuant to payment instructions specified by each such Member by notice
given to the Company pursuant to Section 14.02.

                 Section 5.02 Tax Withholding.

                       (a)          Notwithstanding any other provision of this Agreement,
each Member authorizes the Company to withhold and to pay over, or otherwise pay, any
withholding or other taxes payable by the Company or any of its Affiliates (pursuant to the
Code or any provision of the United States Federal, state, local or foreign tax law) with
respect to such Member or as a result of such Member’s participation in the Company; and if
and to the extent that the Company shall be required to withhold or pay and actually pays any
such withholding or other taxes, such Member shall be deemed for all purposes of this
Agreement to have received a payment from the Company as of the time such withholding or
other tax is paid, which payment shall be deemed to be a distribution made pursuant to
Section 5.01 with respect to such Member’s interest in the Company. To the extent that such
deemed distribution to such Member (or any successor to such Member) for any tax period
exceeds the distributions that such Member would have received for such period but for such
withholding, such excess shall be treated as an interest-free advance to such Member.
Amounts so treated as advanced to any Member shall be repaid by such Member to the
Company within thirty (30) days after the Company delivers a written request to such Member



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    for such repayment; provided, however, that if any such repayment is not made, the Company
    may (without prejudice to any other rights of the Company) collect such unpaid amounts from
    any subsequent Company distributions that otherwise would be made to such Member.

                           (b)          If the Company makes a distribution in kind (if such
    distribution is permitted in accordance with the terms of this Agreement) and such distribution
    is subject to withholding or other taxes payable by the Company on behalf of any Member
!   (the “Withheld Amount”), the Company shall notify such Member as to the extent (if any) of
    the Withheld Amount and such Member shall make a prompt payment to the Company of the
    Withheld Amount by wire transfer (it being understood that, notwithstanding anything else
    herein to the contrary, the Company shall refrain from distributing such property to be
    distributed having a Fair Market Value of at least the Withheld Amount until the Company
    has received a payment of such Withheld Amount).

                         (c)           Any withholding referred to in this Section 5.02 shall be
    made at the maximum applicable statutory rate under the applicable tax law unless the
    Company shall have received an opinion of counsel or other evidence, reasonably satisfactory
    to the Company, to the effect that a lower rate is applicable, or that no withholding is
    applicable.

                           (d)          If the Company receives a distribution from or in respect of
    which tax has been withheld, the Company shall be treated as having received cash in an
    amount equal to the amount of such withheld tax, and each Member shall be treated as having
    received as a distribution in accordance with Section 5.01.

                                            ARTICLE VI

                           Capital Accounts; Allocations of Profit and Loss

                     Section 6.01 Capital Account.

                           (a)          The Company shall establish a separate Capital Account for
    each Member. Capital Accounts shall consist of such Member’s initial Capital Contribution to
    the Company, (i) increased by (A) any additional actual or constructive capital contributions
    by such Member to the Company and (B) any income from time to time credited to the
    Capital Account of such Member pursuant to Article VI, and (ii) decreased by (A) any actual
    or constructive distributions to such Member and (B) any losses or deductions from time to
    time charged to the Capital Account of such Member pursuant to Article VI.

                            (b)          For purposes of maintaining and determining Capital
    Accounts, all property distributed in kind by the Company to a Member shall be charged to
    that Member’s Capital Account at the Fair Market Value of such property on the date of
    distribution, and all property contributed in kind by a Member to the Company shall be
    credited to that Member’s Capital Account at the Fair Market Value of such property on the
    date of contribution.




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                     (c)           If all or a portion of a Membership Interest is Transferred
in accordance with the terms of this Agreement, the assignee shall succeed to the Capital
Account of the assignor to the extent that it relates to such Membership Interest.

                      (d)          Except as expressly required by the Act, no Member shall
have any obligation to restore a deficit balance in its Capital Account.

               Section 6.02 Allocations. Except as otherwise provided in this Agreement, net
profit and net loss (and, to the extent necessary, individual items thereof) of the Company
shall be allocated among the Members in a manner that reflects their economic interest in the
Company, as reasonably determined by the Board.

                                        ARTICLE VII

                                Management and Governance

               Section 7.01 Management and Control of the Company. Except for those
matters for which the approval or consent of any Member is required by this Agreement, any
Ancillary Agreement or by non-waivable provisions of applicable law, the business and affairs
of the Company and any Subsidiary of the Company shall be managed by the Members acting
through a Board of Directors (the “Board”), and the Board shall have, subject to the terms of
this Agreement and the Ancillary Agreements, full, exclusive and complete discretion, power
and authority to manage, control, administer and operate the business and affairs of the
Company and its Subsidiaries. Decisions of the Board within its scope of authority shall be
binding upon the Company and its Members (in their capacity as Members).

                 Section 7.02 The Board.

                     (a)           The size of the Board shall, as of the Effective Date, be set
at five (5) members, which shall, subject to the provisions of Section 7.02(b), be comprised of
(i) two (2) members designated by Givaudan (each a “Givaudan Director”), (ii) two (2)
members designated by Blue Cal (each an “Blue Cal Director”) and (iii) the individual then
serving as the Chief Executive Officer, it being understood that so long as the Company has a
Chief Executive Officer, the Person who at such time is the Chief Executive Officer shall be a
member of the Board (the “CEO Director”). The initial Board as of the Effective Date shall
be as set forth on Schedule B attached hereto, provided, that the size of the Board may be
changed as the Board may, from time to time, determine. The Members hereby agree to vote
their Units and take any and all additional actions necessary to effect the provisions of this
Section 7.02.

                       (b)          Notwithstanding the foregoing provisions of Section
7.02(a), if as of any date, a Member (together with any of its Permitted Transferee Affiliates)
ceases to own a Percentage Interest of at least (i) 33.33%, then effective as of such date, such
Member shall be entitled to designate one member of the Board only, and the other Director(s)
previously designated by such Member (as selected by such Member) shall be automatically
removed from the Board, and the other Member (to the extent that it holds a Percentage
Interest of at least 49%) shall have the right to designate the individual(s) who will be



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appointed to the Board to replace such removed individual(s), and (ii) 10%, then effective as
of such date, such Member shall not be entitled to designate any member of the Board, and
the Director(s) previously designated by such Member shall be automatically removed from
the Board, and the other Member (to the extent that it holds a Percentage Interest of at least
33.33%) shall have the right to designate the individual(s) who will be appointed to the Board
to replace such removed individuals.

                       (c)           Each Givaudan Director shall serve until such Director’s
successor is designated by Givaudan, or, if earlier, until such Director’s death, resignation or
removal by Givaudan. Each Blue Cal Director shall serve until such Director’s successor is
designated by Blue Cal, or, if earlier, until such Director’s death, resignation or removal by
Blue Cal. Except as provided in Section 7.02(b), a vacancy on the Board because of death,
resignation, or removal or any other cause shall be filled upon the direction of, and as
designated by, the Person that appointed such Director, and to the extent requested by the
Person entitled to fill a vacancy, each Member shall promptly take such actions and deliver all
such documents and instruments requested so as to effect the filling of such vacancy. The
CEO Director shall serve until such Person no longer serves as the Chief Executive Officer of
the Company (whether by death, resignation, replacement or removal), and such vacancy shall
be filled by the subsequent Chief Executive Officer of the Company or such other Person as
mutually agreed to by Blue Cal and Givaudan.

                      (d)          Any Director may resign at any time by so notifying the
secretary of the Company in writing. Such resignation shall take effect upon receipt of such
notice by the secretary of the Company or at such later time as is therein specified, and unless
otherwise specified, the acceptance of such resignation shall not be necessary to make it
effective. Any Givaudan Director or Blue Cal Director may be removed, with or without
cause, by the Person who designated such Director to the Board by written notice to the
Company, Givaudan and Blue Cal.

                 Section 7.03 Meetings of the Board.

                      (a)          The Board shall hold a regular meeting at least once per
year at such time and place as shall be determined by the Board, either in person or by means
of telephone or other communications facility that permits all persons participating in the
meeting to hear each other (including by video conference), at the offices of the Company or
such other place as may be agreed from time to time by the Board (unless such meeting shall
be waived by a writing signed by all the Directors).

                      (b)         Each Member may designate observers to attend any
meeting of the Board or any committee (provided, that any such observer shall be an
employee of such Member (or its Controlled Affiliate) who is familiar with the Business of
the Company as a result of such employment), and the Company shall provide each such
observer with the same financial and other information that is provided to Directors in
connection with such meeting; provided, that no such observer shall be counted for the
purpose of determining a quorum for the transaction of business by the Board or committee,
nor shall any such observer be permitted to vote on any matter considered by the Board or
committee at such meeting; and provided, further that the Company reserves the right to



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withhold any information and to exclude any such observer from any meeting if access to such
information or attendance at such meeting could adversely affect the attorney-client privilege
between the Company and its legal counsel.

                 Section 7.04 Committees of the Board.

                       (a)          Subject to Section 7.09, the Board may establish one or
more additional committees as it deems necessary or appropriate from time to time. Each
such committee shall consist of a number of persons designated by each of Givaudan and Blue
Cal that is proportionate to such party’s representation on the Board (or as close thereto as
practicable), except as otherwise agreed to, in writing, by Givaudan and Blue Cal. Subject to
Section 7.09, any action by a committee of the Board shall require the affirmative vote of a
majority of the persons on such committee and each such committee shall exercise those
powers of the Board delegated to it by the Board. Any committee established by the Board
shall meet on a regular basis with such frequency as is customary for such committees.

                         (b)         The Board shall establish (i) a steering committee (the
“Steering Committee”), which, subject Section 7.09, shall be responsible for the management
of the day-to-day operations of the Company and (ii) an intellectual property advisory
committee (the “IP Committee”), which, subject Section 7.09, shall be responsible for (A) the
selection of the Independent IP Counsel and providing guidance to the Board on all matters
relating to Company Developed IP, the Blue Cal Contributed IP and the Givaudan Contributed
IP, including freedom to operate, trade secret identification and protection, invention disclosure,
drafting, filing, prosecution and maintenance strategies. The members of the Steering
Committee and the IP Committee are set forth on Schedule B hereto.

               Section 7.05 Quorum. No action may be taken at a meeting of the Board (or
any committee thereof) unless at least one (1) Blue Cal Director and at least one (1) Givaudan
Director are present; provided, however, that if at any time there is not at least one (1) Blue
Cal Director and at least one (1) Givaudan Director present at any meeting properly called
pursuant to Section 7.03, such meeting shall be adjourned to a later date and notice of such
adjournment shall be given to each of the Directors pursuant to Section 7.03. If any such
meeting is adjourned by reason of the proviso to the immediately preceding sentence, then the
presence of at least one (1) Blue Cal Director or at least one (1) Givaudan Director shall be
required for the Board to take any action at such adjourned meeting.

               Section 7.06 Voting; Proxies. Except as otherwise provided herein, the Board
shall act by the affirmative vote of a majority of the Directors present (it being understood that
a Director having issued a proxy is deemed to be present). Each Director shall have one vote.
Each Director is entitled to appoint one or more representatives (each of whom shall be
required to be a Director or an executive officer of the Member that designated the Director
proposing to appoint such representative) to act for such Director at any meeting of the Board
by executing a written proxy. A proxy is sufficient if signed by such Director, but a signed
written proxy shall not be necessary for a Blue Cal Director to vote on behalf of any other
Director appointed by Blue Cal who is not present at any such meeting or for a Givaudan




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Director to vote on behalf of any other Director appointed by Givaudan who is not present at
any such meeting.

                 Section 7.07 Procedural Matters of the Board.

                       (a)           Any action required or permitted to be taken at any meeting
of the Board may be taken without a meeting and without prior notice if a consent in writing
setting forth the actions so taken is signed by a majority of the Directors, including at least
one (1) Givaudan Director and one (1) Blue Cal Director. A written consent delivered
pursuant to this Section 7.07(a) shall be filed with the minutes of the proceedings of the
Board.

                       (b)          The Board shall cause to be kept a book of minutes of all
of its meetings and actions by written consent and in which there shall be recorded with
respect to each meeting of the Board the time and place of such meeting, whether regular or
special (and if special, how called), the names of those present and the proceedings thereof.

                       (c)          The chairman of the Board (the “Chairman”) shall be
selected by the affirmative vote or written consent of a majority of the Directors and shall
serve in such capacity until his or her earlier death, resignation or removal, or the appointment
of his or her successor. The Chairman shall preside over each meeting of the Board, or, if the
Chairman is unable to attend or participate in such meeting, a majority of the Directors present
shall appoint any member of the Board to preside at such meeting. The secretary of the
Company shall act as secretary at each meeting of the Board. In case the secretary shall be
absent from any meeting of the Board, any assistant secretary of the Company shall perform
the duties of secretary at such meeting or the individual presiding at the meeting may appoint
any Person to act as secretary of the meeting.

                      (d)          The Company shall promptly reimburse, in accordance with
Company policy in effect from time to time each Director who is not an employee of the
Company or any of its Subsidiaries for all of his or her documented out-of-pocket expenses
reasonably incurred in attending each meeting of the Board or any committee thereof.

              Section 7.08 Board Matters. Without limiting the generality of the authority
of the Board set forth in Section 7.01, but subject in all respects to the provisions of Section
7.09, the Board is hereby authorized as follows:

                         (a)          to conduct the Business, carry on its operations and have
and exercise the powers granted to a limited liability company by the Act in any state,
territory, district or possession of the United States, or in any foreign country that may be
necessary, convenient or incidental to the accomplishment of the purposes of the Company;

                      (b)          to acquire by purchase, lease, contribution of property or
otherwise, own, hold, operate, maintain, finance, improve, lease, sell, convey, mortgage,
transfer, demolish or dispose of any real or personal property that may be necessary,
convenient or incidental to the accomplishment of the purposes of the Company;




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                      (c)          subject to Section 7.09(u), to enter into, perform,
renegotiate, extend, amend, modify, terminate and carry out contracts of any kind, including
contracts with any Member or any Affiliate thereof, or any agent of the Company necessary to,
in connection with, convenient to, or incidental to the accomplishment of the purposes of the
Company;

                      (d)          to defend and participate in administrative or other
proceedings, in its name;

                     (e)          to borrow money and issue evidences of indebtedness, and
to secure the same by a mortgage, pledge or other lien on the assets of the Company;

                      (f)          to set aside funds for reasonable reserves, reasonable
anticipated contingencies and reasonable working capital;

                    (g)        to perform all treasury functions, investment of funds and
cash management of the Company;

                     (h)         subject to Article IX, to indemnify any Person in
accordance with the Act and to obtain any and all types of insurance;

                      (i)          to enter into and file any and all documents or instruments
necessary, convenient, advisable or incidental to the accomplishment of the purposes of the
Company; and

                       (j)         to take all actions that may be necessary or appropriate for
the continuation of the Company’s valid existence as a limited liability company under the Act
and in each jurisdiction in which such action is necessary to protect the limited liability of the
Members or to enable the Company to conduct its Business.

              Section 7.09          Matters Requiring Unanimous Consent of the Board.
Notwithstanding the provisions of Section 7.06 and Section 7.08, for so long as each Member
(together with its Permitted Transferee Affiliates) holds a Percentage Interest of at least
33.33%, the Company shall not, and shall not permit any of its Subsidiaries to, engage in or
cause any of the following actions, and neither the Board nor any committee thereof shall
permit or cause the Company, or any of its Subsidiaries, to engage in, take or cause any such
action except with the unanimous approval of the Board (the following enumerated actions
being referred to as the “Significant Matters”), it being acknowledged and agreed that effective
as of the time that any Member shall cease to hold a Percentage Interest of at least 33.33%,
the provisions of this Section 7.09 shall no longer apply:

                     (a)         any merger, consolidation, amalgamation, recapitalization or
other form of business combination involving the Company or any Subsidiary thereof;

                       (b)          any sale, transfer, license or sublicense of any line of
business, assets or property of the Company to any Person, including any license or sublicense
of Contributed IP, the Blue Cal Background Licensed IP or the Blue Cal Future Licensed IP,



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respectively, other than, subject to Section 8.12, the sale of inventory and products in the
ordinary course of business;

                       (c)         any Bankruptcy Proceeding with respect to the Company or
any Subsidiary thereof;

                       (d)       except as set forth in Section 13.01, any adoption of any
plan or agreement of complete or partial liquidation, dissolution, restructuring or other material
reorganization of the Company or any Subsidiary thereof;

                       (e)         any Initial Public Offering of the equity securities of the
Company or any Subsidiary thereof or other registration of any such equity securities under
the Securities Act of 1933 or the granting of any registration rights with respect thereto;

                       (f)         any amendment or modification of the Certificate or this
Agreement;

                      (g)           the formation or organization of any Subsidiary or any
Transfer of equity securities that would result in any such Subsidiary no longer being wholly-
owned by the Company;

                       (h)         any reconstitution or reincorporation of the Company or any
Subsidiary thereof;

                       (i)         any change to the name of the Company or the location of
its principal executive office;

                       (j)         any change to the size of the Board;

                       (k)      the establishment of any committee of the Board and the
removal or replacement of any member of any committee of the Board;

                       (l)       the engagement of the Independent IP Counsel and any
change to or removal or replacement of the Independent IP Counsel;

                       (m)         any waiver of any conditions to Transfer set forth in
Section 8.03;

                     (n)           any commencement, compromise or settlement of or
withdrawal from any suit, action or legal, administrative or arbitral proceeding (including any
proceeding seeking injunctive relief or criminal proceedings);

                       (o)         approval of each Annual Budget;

                      (p)          approval of any capital expenditures, capital additions,
capital improvements or other similar commitments in excess of $500,000 in the aggregate, in
any year to the extent not included in the Annual Budget for such year;




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                       (q)         entry into, commencement of or expansion into any
business outside of the business of developing, manufacturing, marketing and/or selling
Company Products;

                       (r)         any acquisition of, or investment in, or the liquidation of
any investment in, any other Person (other than assets acquired in the ordinary course of
business), including, any minority investment, strategic partnership or joint venture
arrangement by the Company or any Subsidiary thereof;

                       (s)      entry into any leasing, licensing or similar agreement
pursuant to which the Company (or any Subsidiary thereof);

                       (t)          to the extent not included in the Annual Budget for such
year, entry into, termination or suspension of any business projects;

                       (u)           entry (or any subsequent amendment, waiver or other
modification) by the Company (or any Subsidiary thereof) into any agreement contract or
arrangement (i) with any Member or their respective Affiliates (or any director or officer of
such Member or any of its Affiliates) (a “Related-Party Transaction”) except for entry into the
Ancillary Agreements as contemplated hereunder, (ii) providing for payments to or liability for
the Company (or any Subsidiary thereof) in an aggregate principal amount in excess of
$25,000, (iii) that may restrict the ability of the Company (or any Subsidiary thereof) to
compete with any Person in the Business anywhere in the world (whether pursuant to a non-
competition, non-solicitation, most favored nation or other similar arrangement), (iv) with a
competitor of either Givaudan or Blue Cal or any of their respective Affiliates, (v) with any
governmental authority, providing for payments to or liability for the Company (or any
Subsidiary thereof) in an aggregate principal amount in excess of $25,000, or (vi) involving
any intellectual property rights that are material to the Company (or any Subsidiary thereof);

                       (v)           the authorization, issuance or sale of any Units or other
equity securities, any options or other securities convertible into or exchangeable for Units or
other equity securities, any determination with respect to each such series, including as to the
number of units constituting such series and the designation of such series, the voting powers
(if any) of the units of such series, and the preferences and relative, participating, optional or
other special rights, if any, and any qualifications, limitations or restrictions thereof, of the
units of such series;

                       (w)          the redemption or repurchase of any Units or equity
securities;

                       (x)          approval of any Permitted Transfer made pursuant to
Section 8.02(b);

                       (y)       any determination as to the existence and/or amount of
Available Cash at any time and any distributions to Members;

                      (z)           the creation, incurrence, assumption or repayment of any
indebtedness, including capital leases, guarantees, liens, encumbrances and other similar


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obligations or the issuance or sale of any debt securities or rights to acquire any debt securities
of the Company (or any Subsidiary thereof), in an aggregate principal amount in excess of
$25,000, in each case, except to the extent set forth in the applicable Annual Budget;

                      (aa)       any material change in the accounting principles or
practices used by the Company or any Subsidiary on the date of the agreement or any change
of the Company’s or any Subsidiary’s independent public accountants;

                       (bb)         investments of cash and cash reserves in anything other
than highly liquid securities with a known (or readily determinable) market value, which have
a maturity date of less than three (3) months from the date acquired by the Company (or any
Subsidiary thereof);

                     (cc)         any hiring decisions or employment arrangements (or
renewal, waiver or modification of the terms of any existing employment arrangements) with
respect to any employee or consultant of the Company (or any Subsidiary thereof);

                       (dd)         any decisions regarding the designation of any executive
officers or the determination, allocation or payment of compensation or bonuses to any of the
foregoing;

                     (ee)        adoption, amendment or waiver of any compensation or
bonus plans and arrangements of the Company (or any Subsidiary thereof); or

                       (ff)         the entry into any agreement or other arrangement to do any
of the foregoing.

                 Section 7.10 Officers.

                       (a)          All officers of the Company shall have such authority and
perform such duties as may be provided in this Agreement or, to the extent not so provided,
by resolution passed by the Board. The Board may appoint officers of the Company, which
shall include the Chief Executive Officer (who shall be the highest officer of the Company,
and who shall report to the Board), a chief financial officer, a president, one or more vice
presidents and a secretary or one or more assistant secretaries, and the Board shall have the
right to dismiss any officers of the Company. The Company may choose any other officers
and agents as it shall deem necessary who, together with the appointed officers of the
Company, shall hold their offices for such terms and shall exercise such positions and perform
such duties as shall be determined by the Board, subject to the provisions of this Agreement.
Any individual may hold more than one office. The Board may designate additional offices
and assign thereto such duties as it may determine. The initial officers of the Company shall
be those Persons set forth on Schedule C to this Agreement.

                      (b)        The officers, to the extent of their powers set forth in this
Agreement or as delegated to them by the Board, are agents of the Company for the purpose
of the Company’s business, and the actions of the officers taken in accordance with such
powers shall bind the Company.



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                       (c)          The secretary of the Company will generally perform all the
duties usually appertaining to the office of secretary of a limited liability company.

                       (d)          Any Person dealing with the Company may rely upon a
certificate signed by an appropriate officer as to:

                              (i)    the identity of any Member or officer;

                              (ii)   the existence or non-existence of any fact or facts which
constitute a condition precedent to acts by the officer or in any other manner germane to the
affairs of the Company;

                            (iii) the Persons who are authorized to execute and deliver any
instrument or document of, or on behalf of, the Company; or

                            (iv)  any act or failure to act by the Company or any other
matter whatsoever involving the Company or any Member.

                 Section 7.11 Annual Budget.

                       (a)        On or prior to November 30 of each Fiscal Year, the chief
executive officer of the Company (the “Chief Executive Officer”) shall cause to be prepared
and presented to the Board the proposed Annual Budget for the immediately succeeding Fiscal
Year; provided, however, that the Annual Budget in respect of the Fiscal Year ended
December 31, 2014 shall be agreed to by the Board (the “Initial Budget”) and such Initial
Budget as agreed upon by the Board shall be deemed to have been approved for all purposes
of this Section 7.11. The proposed Annual Budget for all Fiscal Years shall set forth the
annual operating and capital budget of the Company on a quarterly basis.

                       (b)          For a period of thirty (30) days following the date on which
the proposed Annual Budget is presented to the Board, the Board shall review such Annual
Budget and shall make such modifications to such proposed Annual Budget as are mutually
desirable and agreeable. If the Board does not approve any proposed modifications to an
Annual Budget as initially proposed by the Chief Executive Officer (including after applying
the dispute resolution procedures set forth in Section 14.08), then such Annual Budget as
initially proposed shall continue in effect with respect to the applicable Fiscal Year until the
earlier of (i) such time as any modifications hereto are approved by the Board and (ii) the end
of such Fiscal Year. If the Board determines that the Annual Budget proposed by the Chief
Executive Officer in respect of any Fiscal Year should be rejected, then the Company shall
continue to be operated in accordance with the then most recently approved Annual Budget
with respect to all matters delineated therein.

               Section 7.12 Actions of Subsidiaries. The Company shall not permit any
Subsidiary of the Company to take any action that (i) if taken by the Company, would require
the approval of the Board or a Member, or (ii) would require the approval of the board of
directors or other governing body or person of such Subsidiary, unless such action by such




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Subsidiary has been approved by the Board or such Member in accordance with the terms of
this Agreement.

               Section 7.13 Insurance Matters. Subject to the provisions of Section 9.04
below, the Board shall approve, in connection with the Annual Budget, the amount and type
of insurance to be carried by the Company including property, general liability, product
liability and workers’ compensation insurance.

               Section 7.14 Intellectual Property Counsel. Subject to Section 7.09, the Board
shall cause the Company to engage independent outside counsel from a law firm selected by
the IP Committee for the purpose of providing legal advice and guidance on matters relating
to Company Developed IP, the Blue Cal Contributed IP and the Givaudan Contributed IP (the
“Independent IP Counsel”).




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                                          ARTICLE IX

                          Limitation on Liability and Indemnification

                 Section 9.01 Limitation on Liability.

                       (a)         No Covered Person shall be liable to the Company or to
any Member for any act or omission performed or omitted by such Covered Person pursuant
to authority granted to such Covered Person by this Agreement and, with respect to Officers
only, performed or omitted by such Officer with a good faith belief that such act or omission
was in, or not opposed to, the best interests of the Company; provided, that, except as
otherwise provided herein, such limitation of liability shall not apply to the extent the act or


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omission was attributable to such Covered Person’s gross negligence, willful misconduct,
fraud or knowing violation of law or this Agreement. No Member shall be liable to the
Company or any other Member for any action taken by any other Member. To the extent that,
at law or in equity, a Covered Person has duties (including fiduciary duties) and liabilities
relating thereto to the Company or to the Members, any Covered Person acting under this
Agreement or otherwise shall not be liable to the Company or any Member for its good faith
reliance on the provisions of this Agreement. Each of the Members and the Company hereby
waives any and all fiduciary duties that, absent such waiver, may be implied or imposed by
applicable law, and in doing so, acknowledges and agrees that the duties and obligations of
each Covered Person to each other and to the Company are only as expressly set forth in this
Agreement. The provisions of this Agreement, to the extent they expressly restrict the duties
and liabilities of a Covered Person otherwise existing at law or in equity, are agreed by the
Members to modify such other duties and liabilities of such Covered Person. No Covered
Person shall be personally liable to the Company or any Member for any error of judgment
made in good faith by a responsible officer or officers of the Covered Person, except to the
extent that such Covered Person’s conduct constituted gross negligence, willful misconduct,
fraud or knowing violation of law or this Agreement. Except as otherwise provided in this
Section 9.01(a), no Covered Person shall be liable to the Company or any Member for any
mistake of fact or judgment by the Covered Person in conducting the affairs of the Company
or otherwise acting in respect of and within the scope of this Agreement, except to the extent
that such Covered Person’s conduct constituted gross negligence, willful misconduct, fraud or
knowing violation of law or this Agreement or any Ancillary Agreement.

                       (b)          Notwithstanding anything to the contrary in this Agreement,
whenever in this Agreement or any other agreement contemplated hereby a Person or Persons
are permitted or required to take any action or to make a decision in its or their “sole
discretion” or “discretion,” such Person or Persons shall be entitled to consider such interests
and factors as it or they desire.

                Section 9.02 Duty of Directors. The Directors’ duty of care in the discharge
of their duties to the Company and the Members shall be limited to discharging their duties
pursuant to this Agreement in good faith. In discharging their duties, the Directors shall not
be liable to the Company or to any Member for any mistake or error in judgment or for any
act or omission believed in good faith to be within the scope of authority conferred by law or
by or pursuant to this Agreement. To the fullest extent permitted under the Act, it is
expressly acknowledged and agreed that a Director shall act in the interests of the Member by
whom he or she was appointed in considering matters that may come before the Board and
that a Director shall have no liability to the Company or the Members for breach of the
fiduciary duty of loyalty as a result of any action taken or approval given by a Director that
inures to the benefit of the Member by whom he or she was appointed.

                 Section 9.03 Indemnification by the Company; Non-Exclusivity of Rights.

                       (a)          The Company shall indemnify and hold harmless a Covered
Person to the fullest extent permitted under the Act, as the same now exists or may hereafter
be amended, substituted or replaced (but, in the case of any such amendment, substitution or
replacement only to the extent that such amendment, substitution or replacement permits the


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Company to provide broader indemnification rights than the Company is providing
immediately prior to such amendment), against all Losses reasonably incurred or suffered by
such Covered Person (or one or more of such Covered Person’s Affiliates) in connection with,
relating to, or arising out of the business and operations of the Company; provided, that no
Covered Person shall be indemnified for any Losses suffered or incurred by such Covered
Person that are attributable to such Person’s or any of its Affiliate’s (other than the Company)
or agent’s gross negligence, willful misconduct, fraud or knowing violation of law or breach
of this Agreement or any Ancillary Agreement; provided, further, that no Covered Person shall
be indemnified for any Losses for which such Covered Person or its Affiliates is obligated to
indemnify the Company pursuant to this Agreement or any of the Ancillary Agreements.
Expenses, including attorneys’ fees, reasonably incurred by any such indemnified Covered
Person in defending a proceeding shall be paid by the Company in advance of the final
disposition of such proceeding, including any appeal therefrom, upon receipt of an undertaking
by or on behalf of such Covered Person to repay such amount if it shall ultimately be
determined that such Covered Person is not entitled to be indemnified by the Company. The
Company shall have the right to control any proceeding for which a claim for indemnification
is sought by a Covered Person if and to the extent that such claim relates to the business and
operations of the Company. The indemnification obligations of the Company contained in this
Section 9.03 shall apply to a Covered Person solely in such Covered Person’s capacity as such
on behalf of the Company with such duties, rights and obligations as are set forth in this
Agreement.

                       (b)          Notwithstanding anything contained herein to the contrary
(including in this Section 9.03), any indemnity by the Company relating to the matters covered
in this Section 9.03 shall be provided out of and to the extent of Company assets (including
any applicable policies of insurance) only and no Member shall have personal liability on
account thereof or shall be required to make additional Capital Contributions to help satisfy
such indemnity of the Company.

                     (c)          The right to indemnification and the advancement and
payment of expenses conferred in this Section 9.03 shall not be exclusive of any other right
which a Covered Person indemnified pursuant to this Section 9.03 may have or hereafter may
acquire under any law (common or statutory), provision of the Certificate or this Agreement or
the Ancillary Agreements, vote of the Members or disinterested Directors or otherwise.

                Section 9.04 Insurance. The Company may purchase and maintain insurance,
at its expense, to protect itself and any Person who is an indemnified Person under Section
9.03 against any Loss, whether or not the Company would have the power to indemnify such
Person against such Loss under Section 9.03.

                Section 9.05 Savings Clause. If this Article IX or any portion hereof shall be
invalidated on any ground by any court of competent jurisdiction, then the indemnifying
Person shall nevertheless indemnify and hold harmless each Person entitled to be indemnified
pursuant to this Article IX as to reasonable Losses paid in settlement with respect to any
action, suit or proceeding, whether civil, criminal, administrative or investigative to the full




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extent permitted by any applicable portion of this Article IX that shall not have been
invalidated and to the fullest extent permitted by applicable law.

                                         ARTICLE X

                              Books, Records, Reports, Accounts

                 Section 10.01 Records and Accounting.

                       (a)         The Company shall keep, or cause to be kept, appropriate
books and records with respect to the Company’s business, including all books and records
necessary to provide any information, lists and copies of documents required to be provided
pursuant to Section 10.04 or pursuant to applicable laws. All matters concerning (i) the
determination of the relative amount of allocations and distributions among the Members
pursuant to this Agreement, and (ii) accounting procedures and determinations, and other
determinations not specifically and expressly provided for by any applicable terms of this
Agreement, shall be determined by the Board, whose determination shall be final and
conclusive absent manifest clerical error and provided such determinations are consistent with
the terms of this Agreement; provided, however, that the Company shall comply with any
reasonable and customary corporate governance policies requested by Givaudan or Blue Cal
(including any code of ethics) so long as such policies are applicable to such Member or any
of its Controlled Affiliates.

                      (b)          The Board shall engage a nationally recognized firm of
independent certified public accountants to perform an audit of the Company’s financial
statements for each Fiscal Year, subject to such firm entering into a confidentiality agreement
with the Company protecting against the disclosure of the Company’s and the Members’
confidential information, the form of which shall be reasonably satisfactory to Givaudan and
Blue Cal.

                       (c)          Each Member (or its authorized representatives) shall have
the right, upon reasonable advance notice and during normal business hours, to inspect and
copy any of the books, records, documents and information of the Company. Each Member
shall also have the right to engage a firm of independent certified public accountants, at its
own expense, to audit the Company’s books, records and internal controls, and the Company
shall cooperate with such Member and firm in connection with such audits, subject to such
auditors entering into a confidentiality agreement with the Company protecting against the
disclosure of the Company’s and the Members’ confidential information, the form of which
shall be reasonably satisfactory to Givaudan and Blue Cal.

                 Section 10.02 Member Reports.

                       (a)         The Company shall deliver or cause to be delivered to each
Member:

                             (i)     within forty-five (45) days after the end of each fiscal
quarter, an unaudited balance sheet and an unaudited statement of income and cash flows of



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the Company and its Subsidiaries for and as at the end of such fiscal quarter, setting forth in
comparative form with respect to the corresponding fiscal quarter for the previous Fiscal Year
and with respect to the Annual Budget;

                              (ii)    upon the request of Givaudan or Blue Cal, within ninety
(90) days (or earlier as may be required to comply with securities laws applicable to such
Member or its Affiliates) after the conclusion of any Fiscal Year, audited consolidated
statements of income and cash flows of the Company and its Subsidiaries for such Fiscal
Year, changes in each Member’s equity and each Member’s Capital Account balance and an
audited consolidated balance sheet of the Company and its Subsidiaries as of the end of such
Fiscal Year, all prepared in accordance with GAAP; and

                            (iii) within ninety (90) days after the conclusion of any Fiscal
Year, an unaudited statement of changes in each Member’s equity and each Member’s Capital
Account balance for such Fiscal Year.

                      (b)          To the extent that a Member (the “Consolidating Member”)
consolidates the financial statements of the Company in accordance with GAAP, the Company
shall deliver to each Member:

                            (i)    within ten (10) Business Days after the conclusion of each
month, an unaudited reporting package which contains a balance sheet and statement of
operations of the Company, prepared in accordance with GAAP, the format of which reporting
packages shall be mutually determined by the Company and the Consolidating Member in
good faith;

                              (ii)   on a timely basis in good faith, information with respect
to Subsequent Events (as defined in accordance with GAAP) that may affect either accounting
or disclosure matters on a periodic basis during a fiscal quarter and year-end close up through
the time that the Consolidating Member files its consolidating financial statements with the
U.S. Securities and Exchange Commission; and

                              (iii) a representation letter on a quarterly and annual basis
which provides customary representations of the Company with respect to the preparation of
the financial information in the reporting packages described in clause (i) of this
subsection (b) and applicable internal controls over financial reporting.

              Section 10.03 Accounts. The Board shall establish and maintain one or more
separate bank and investment accounts and arrangements for Company funds in the
Company’s name with financial institutions and firms that the Board determines. The Board
may not commingle the Company’s funds with the funds of any Member.

               Section 10.04 Other Information. In addition to the other rights specifically set
forth in this Agreement, each Member shall be entitled to all information to which such
Member is entitled to have access pursuant to Section 18-305(a) of the Act under the
circumstances and subject to the conditions therein stated.




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                                          ARTICLE XI

                                       Other Opportunities

               Section 11.01 Other Opportunities. Subject to compliance with the other
provisions of this Article XI and their other commitments under this Agreement and the
Ancillary Agreements:

                        (a)           any Director (other than the CEO Director) or Member or
its Affiliate (other than the Company and its Subsidiaries) may conduct any business or
activity whatsoever outside of the Company without any accountability to the Company or any
other Member (and all revenue and expenses attributable to any such business or activity shall
be for the sole account of the Director or Member or its Affiliate (other than the Company and
its Subsidiaries) performing such business and activity) regardless of whether (i) such outside
business or activity of such Director or Member or such Affiliate competes with the business
of the Company, (ii) such outside business or activity by such Director or Member or such
Affiliate is or is not in the best interests of the Company or the other Members (unless such
business or activity is performed on behalf of the Company), or (iii) such Director or Member
or such Affiliate became aware of such outside business or activity in her or his role with the
Company or as a Member (including through its appointed Directors), as applicable, and this
Agreement shall not give the Company, any Member or other Person any interest in, or right
to, any such outside business or activity or any proceeds, income or profit thereof or
therefrom;

                       (b)          the Company and the Members hereby acknowledge that
the conduct (or the omission of conduct) of any business or activity outside of the Company
shall not: (i) constitute a breach of this Agreement; (ii) constitute a breach of any fiduciary or
other duty owed to the Company or any Member; or (iii) otherwise give rise to any liability to
the Company or any Member; and

                      (c)          no Director (other than the CEO Director) or Member shall
be obligated hereunder to offer any business opportunity to the Company or any other Member
or be restricted from pursuing any business opportunity offered to the Company.

                                          ARTICLE XII

                                          Confidentiality

                 Section 12.01 Confidentiality.

                       (a)           Each of the Members acknowledges that, from time to time,
it and its Affiliates may receive information from or regarding the other Member (or its
Affiliates) or the Company in the nature of trade secrets or that otherwise is confidential,
including the terms of this Agreement and any Company Products (“Confidential
Information”), the release or disclosure of which could be damaging to the other Member (or
its Affiliates), the Company or Persons with which it does business.




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                       (b)          Each of the Members and the Company receiving any
Confidential Information (each, a “Receiving Party”) shall hold in strict confidence any
Confidential Information it receives with the same degree of care as it uses to avoid
unauthorized use, disclosure, publication or dissemination of its own confidential information
of a similar nature, but in no event less than a reasonable degree of care; provided, that a
Receiving Party may disclose such Confidential Information to any Affiliate, Covered Person
or professional advisor of such Receiving Party that agrees to abide by the restrictions in this
Section 12.01; provided, further, that a Receiving Party may disclose such Confidential
Information to the extent required by any legal, accounting or regulatory requirements
(including the requirements of any securities exchange) or in connection with enforcing its
rights under this Agreement or the Ancillary Agreements; and provided, further, that the
Receiving Party disclosing such Confidential Information shall be responsible for any breaches
of confidentiality by any such Affiliate, Covered Person or professional advisor of such
Receiving Party. For the avoidance of doubt, the restrictions in this Section 12.01(b) shall
continue to apply to a Member after it has ceased to be a Member.

                         (c)           The restrictions in this Section 12.01 shall not apply to any
Confidential Information to which the Receiving Party can demonstrate that such Confidential
Information: (i) is or became public knowledge through no action of such Receiving Party or
its Affiliates, officers, directors, representatives or agents in violation of this Agreement;
(ii) has been provided to such Receiving Party without restriction by an independent third
party who has not, directly or indirectly, received such Confidential Information from such
Receiving Party (or the Company); (iii) was properly in the possession of such Receiving
Party prior to the time of receipt of such Confidential Information; (iv) is required to be
disclosed by law, regulation or court order (provided, that such Receiving Party shall notify
the Board promptly of any request for that Confidential Information, before disclosing it if
practicable); (v) was developed independently by such Receiving Party in the course of work
by employees or other agents of such Receiving Party without use of such Confidential
Information; or (vi) has been provided to such Receiving Party independently of such
Receiving Party’s activities with respect to the Company.

                                         ARTICLE XIII

                             Termination, Dissolution and Liquidation

               Section 13.01 Dissolution. Notwithstanding anything to the contrary contained
herein, the Company shall be dissolved and its affairs wound up upon the first to occur of any
of the following events:

                      (a)            the consent of the Board pursuant to Section 7.06 or
Section 7.09, as applicable;

                     (b)             the entry of a decree of judicial dissolution under
Section 18-802 of the Act;

                       (c)           a Bankruptcy Event with respect to the Company;




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                       (d)           any Bankruptcy Event or Change of Control of a Member,
its Controlling Affiliates or any other Affiliate that is a party to any Ancillary Agreement
(such Member, the “Affected Member”), if the other Member (the “Non-Affected Member”),
shall have delivered written notice of its election to terminate this Agreement at any time
within sixty (60) days after becoming aware of such Bankruptcy Event or Change of Control,
as applicable;

                       (e)          at the election of any Member upon written notice to the
other Members within thirty (30) days after the failure of the Resolution Representatives to
resolve a dispute in respect of a Significant Matter within the period set forth in Section
14.08; or

                      (f)           at the election of a non-breaching Member, if there has
been a Material Breach of the Agreement by the other Member, which breach is not waived
by non-breaching Member or cured by the breaching Member within sixty (60) days after
receipt by breaching Member of written notice thereof from the non-breaching Member;
provided, that the Member seeking to dissolve the Company pursuant to this Section 13.01(f)
is not then in Material Breach of its obligations under this Agreement.

               Section 13.02 Winding Up. Upon the dissolution of the Company as provided
in Section 13.01, the business and affairs of the Company shall be wound up by a liquidating
trustee (a “Liquidator”) chosen by the mutual agreement of Givaudan and Blue Cal. In
performing its duties, the Liquidator is authorized to sell, assign, encumber or otherwise
dispose of any or all of the assets of the Company and to wind up and liquidate the affairs of
the Company in an orderly and business-like manner; provided, however, that, except as
required under applicable law in order to satisfy any liabilities of the Company or its
Subsidiaries to any creditors, the Liquidator shall not sell, distribute, exchange or otherwise
dispose of the Contributed IP, Blue Cal Contributed IP, the Givaudan Contributed IP, the Blue
Cal Background Licensed IP or                                        except in accordance with the
provisions of Section 13.03 and Section 13.06 below. The Liquidator shall cause to be
prepared and distributed to the Members a statement of the assets and liabilities of the
Company (on a consolidated basis) as of the date of dissolution.




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               Section 13.04 Survival of Liabilities and Obligations. The dissolution or
winding up of the Company for any reason shall not release any Member from any liability or
obligation which at the time of such dissolution or winding up already had accrued to any
other Member or which thereafter may accrue in respect of any act or omission prior to such
dissolution or winding up.

                Section 13.05 Claims of the Members. Members shall look solely to the assets
or the Company for the return of their Capital Contributions, and if the assets of the Company
remaining after payment of or due provision for all debts, liabilities and obligations of the
Company are insufficient to return such Capital Contributions, the Members shall have no
recourse against the Company or any other Member or any of their respective Affiliates with
respect to the return of their Capital Contributions.

               Section 13.06 Distributions in Kind. In the case of distributions of securities or
other property, such securities or other property shall, for purposes of Section 13.03, be valued
at Fair Market Value as reasonably determined by the Liquidator.
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               Section 13.08 Cancellation of Certificate. Upon the completion of the winding
up of the Company’s affairs and distribution of the Company’s assets, the Company shall be
terminated and the Members shall cause the Company to execute and file a certificate of
cancellation in accordance with Section 18-203 of the Act.

                                      ARTICLE XIV

                                    General Provisions

              Section 14.01 Amendment or Modification. This Agreement may be amended
or modified only by written agreement of all of the Members.

             Section 14.02 Notices. Except as may otherwise be expressly set forth in this
Agreement, the terms notice, notify and the like when used herein shall mean written notice



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(including facsimile or similar writing or electronic mail) and shall be sufficiently given if
given to a party at such party’s address or facsimile number or electronic mail address as set
forth in Schedule A attached hereto, or such other address or facsimile number or electronic
mail address as such party may hereafter specify to the Company and the other Members or
parties for such purpose. Each such notice or other communication shall be effective:

                     (a)          if given by facsimile, when such facsimile is transmitted to
the facsimile number specified above and the appropriate confirmation is received;

                       (b)          if given by electronic mail, when such electronic mail is
transmitted to the electronic mail address specified above and the recipient confirms receipt by
reply electronic mail;

                    (c)          if given by mail, three (3) Business Days after such
communication is mailed by registered or certified mail postage prepaid, addressed as
aforesaid;

                       (d)           if given by reputable national overnight courier, on the date
of delivery as reflected in the records of such courier; or

                       (e)          if given by any other means, when delivered personally to
the party or when delivered at the address specified above. Whenever any notice is required
to be given by law or this Agreement, a written waiver thereof, signed by the person entitled
to notice, whether before or after the time stated therein, shall be deemed equivalent to the
giving of such notice.

               Section 14.03 Public Announcements. All media releases, public
announcements and public disclosures by any party relating to this Agreement or the subject
matter of this Agreement (including promotional or marketing materials) shall be coordinated
with and subject to the approval of Givaudan and Blue Cal prior to release, other than any
announcement intended solely for internal distribution within such party’s organization or any
disclosure required by legal, accounting or regulatory requirements (including the requirements
of any securities exchange).

               Section 14.04 Enforcement of Company’s Rights. Notwithstanding anything to
the contrary elsewhere in this Agreement or the Ancillary Agreements, without any consent or
approval of the Board, (i) Blue Cal shall have the right to cause the Company to exercise the
Company’s rights (including all rights to access and information) and enforce the Company’s
remedies with respect to any and all Related-Party Transactions between the Company, on the
one hand, and Givaudan or any of its Affiliates, on the other hand, including pursuant to this
Agreement and the Ancillary Agreements, and (ii) Givaudan shall have the right to cause the
Company to exercise the Company’s rights (including all rights to access and information) and
enforce the Company’s remedies with respect to any and all Related-Party Transactions
between the Company, on the one hand, and Blue Cal or any of its Affiliates, on the other
hand, including pursuant to this Agreement and the Ancillary Agreements; provided, however,
that if a Member alleges that any other Member or their respective Affiliates has breached the
terms of any such Related-Party Transactions, the alleging Member shall pay all legal fees and



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expenses reasonably incurred in connection with the Company’s enforcement of its rights and
remedies with respect to such alleged breaches under the terms of such Related-Party
Transactions (except to the extent that the payment of such fees and expenses are otherwise
allocated pursuant to the express terms of such agreement) in the event that the matter
proceeds to a final judgment not subject to appeal pursuant to which the Company does not
prevail in whole or in part in proving any such breach. If either Member makes a claim that
the Company has breached any of its obligations in connection with a Related-Party
Transaction between the Company and such Member, the other Member shall have the right to
cause the Company to defend such claim.

               Section 14.05 Entire Agreement. This Agreement and the schedules and
exhibits attached hereto, together with the Ancillary Agreements, embody the entire
understanding and agreement among the parties and supersede any prior understanding and
agreement by or among the parties, written or oral, relating to the subject matter hereof.

               Section 14.06 Waiver. No failure or delay on the part of any party hereto in
exercising any right, power or remedy hereunder shall operate as a waiver thereof, nor shall
any single or partial exercise of any such right, power or remedy preclude any other or further
exercise thereof or the exercise of any other right, power or remedy. The remedies provided
for herein are cumulative and are not exclusive of any remedy that may be available to the
parties hereto at law, in equity or otherwise.

                Section 14.07 Injunctive and Other Relief. Each party acknowledges and
agrees on behalf of itself and its Affiliates that the rights afforded herein are unique and that
any violation of this Agreement or any Ancillary Agreement may cause irreparable injury to
the Company or non-breaching party for which monetary damages are inadequate, difficult to
compute, or both. Accordingly, each party expressly agrees that, in addition to any other
remedies which the Company or non-breaching party may have, the Company and non-
breaching party shall be entitled to injunctive or other equitable relief for any breach or
threatened breach of any term, provision or covenant of this Agreement or any Ancillary
Agreement by the breaching party. Nothing contained herein shall prevent or delay the
Company or non-breaching party from seeking specific performance or other equitable
remedies in the event of any breach or intended breach by any party of such party’s
obligations hereunder or any Ancillary Agreement. In addition, the non-breaching party may
bring an action on their own or on behalf of the Company against the breaching parties with
respect to any breach or bring any action as may be permitted to recover damages on behalf of
the Company or the non-breaching party. In any such proceeding or action, the prevailing
party or parties shall be entitled to receive from the non-prevailing party or parties, in addition
to such other damages and relief as may be awarded, the costs and expenses incurred by it or
them in connection with such action, including reasonable attorneys’ fees.

                Section 14.08 Dispute Resolution. In the event of any dispute between the
parties, including with respect to the approval of any Significant Matters, the parties shall
work together in good faith to resolve such dispute for such time as may be specified under
the terms of this Agreement or as otherwise agreed by the involved parties or, if no time limit
is provided under this Agreement and the involved parties cannot otherwise agree, then for
thirty (30) days from the date of written notice by either party first describing the applicable


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dispute. If the parties are unable to resolve such dispute within the applicable period, a senior
executive officer or each party as may be designated by each party from time to time (or an
authorized representative thereof) (each such designee, a “Resolution Representative”) shall
meet, confer and discuss in person or by telephone conference in an attempt to resolve the
dispute or deadlocked matter in good faith. If the Resolution Representatives of the involved
parties are unable to resolve such dispute within thirty (30) days following referral of such
dispute pursuant to this Section 14.08, then such dispute (i) in the case of any dispute other
than a dispute relating to a Significant Matter, be resolved in accordance with Section 14.10
below and (ii) in the case of any dispute relating to a Significant Matter, any Member shall
have the right to elect to cause the Company to be dissolved in accordance with Section
13.01(e).

                Section 14.09 Binding Effect. Subject to the restrictions on Transfers set forth
in Article VIII, this Agreement shall be binding on and inure to the benefit of the Members
and their respective heirs, legal representatives, successors and assigns.

               Section 14.10 Governing Law; Waiver of Jury. This Agreement and all claims
and causes of action (whether in contract, tort or otherwise) shall be governed by and shall be
construed in accordance with the laws of the State of Delaware, excluding any conflict-of-laws
rule or principle that might refer the governance or the construction of this Agreement to the
law of another jurisdiction. EACH OF THE PARTIES HERETO HEREBY AGREES TO
WAIVE ITS RESPECTIVE RIGHTS TO A JURY TRIAL OF ANY CLAIM OR CAUSE OF
ACTION BASED UPON OR ARISING OUT OF THIS AGREEMENT OR THE
TRANSACTIONS CONTEMPLATED HEREBY. THE SCOPE OF THIS WAIVER IS
INTENDED TO BE ALL-ENCOMPASSING OF ANY AND ALL DISPUTES THAT MAY
BE FILED IN ANY COURT AND THAT RELATE TO THE SUBJECT MATTER OF THIS
AGREEMENT, INCLUDING CONTRACT CLAIMS, TORT CLAIMS, BREACH OF DUTY
CLAIMS AND ALL OTHER COMMON LAW AND STATUTORY CLAIMS. EACH
PARTY HERETO FURTHER REPRESENTS AND WARRANTS THAT IT HAS
REVIEWED THIS WAIVER WITH ITS LEGAL COUNSEL AND THAT IT KNOWINGLY
AND VOLUNTARILY WAIVES ITS JURY TRIAL RIGHTS FOLLOWING
CONSULTATION WITH LEGAL COUNSEL.

                 Section 14.11 Consent to Jurisdiction and Service of Process. Subject to
Section 14.08, any legal action, suit or proceeding arising out of or relating to this Agreement,
or the breach, termination or validity thereof, shall be instituted in any state or federal court in
the State of New York located in the County of New York. Each Party agrees not to assert,
by way of motion, as a defense or otherwise, in any such action, suit or proceeding, any claim
that it is not subject personally to the jurisdiction of such courts, that its property is exempt or
immune from attachment or execution, that the action, suit or proceeding is brought in an
inconvenient forum, that the venue of the action, suit or proceeding is improper or that this
Agreement, the agreements contemplated hereby or the subject matter hereof or thereof may
not be enforced in or by such court. Each Party further irrevocably submits to the exclusive
jurisdiction of any such court in any such action, suit or proceeding. Any and all service of
process and any other notice in any such action, suit or proceeding shall be effective against
any Party if given by registered or certified mail, return receipt requested, or by any other



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means of mail that requires a signed receipt, postage prepaid, mailed to such Party as herein
provided.

               Section 14.12 Severability. If any provision of this Agreement or the
application thereof to any Person or circumstance is held invalid or unenforceable to any
extent, the remainder of this Agreement and the application of that provision to other Persons
or circumstances shall not be affected thereby and that provision shall be enforced to the
greatest extent permitted by law.

               Section 14.13 Further Assurances. In connection with this Agreement and the
transactions contemplated hereby, each Member and the Company shall execute and deliver
any additional documents and instruments and perform any additional acts that may be
necessary or appropriate to effectuate and perform the provisions of this Agreement and those
transactions.

                Section 14.14 No Third-Party Beneficiaries. The provisions hereof are solely
for the benefit of the Company, its Members and, to the extent specifically set forth herein,
the Directors, officers and Covered Persons, and are not intended to, and shall not be
construed to, confer a right or benefit on any creditor (in its capacity as such) of the Company
or any other Person.

               Section 14.15 Waiver of Certain Rights. Each Member irrevocably waives any
right it may have to maintain any action for dissolution of the Company or for partition of the
property of the Company, other than pursuant to Article XIII.

               Section 14.16 Opt-out of Article 8 of the Uniform Commercial Code. The
Members hereby agree that the Common Units shall not be securities governed by Article 8 of
the Uniform Commercial Code of the State of Delaware (and the Uniform Commercial Code
of any other applicable jurisdiction).

                Section 14.17 Delivery by Facsimile. This Agreement and any signed
agreement or instrument entered into in connection with this Agreement or contemplated
hereby, and any amendments hereto or thereto, to the extent signed and delivered by means of
a facsimile machine or facsimile delivered by electronic mail (a “pdf file”), shall be treated in
all manner and respects as an original agreement or instrument and shall be considered to have
the same binding legal effect as if it were the original signed version thereof delivered in
person. At the request of any party hereto or to any such agreement or instrument, and
without affecting the effectiveness of any previous execution thereof by facsimile or pdf file,
each other party hereto or thereto shall re-execute original forms thereof and deliver them to
all other parties. No party hereto or to any such agreement or instrument shall raise the use of
a facsimile machine or pdf file to deliver a signature or the fact that any signature or
agreement or instrument was transmitted or communicated through the use of a facsimile
machine or pdf file as a defense to the formation of a contract and each such party forever
waives any such defense.




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               Section 14.18 Counterparts. This Agreement may be executed in any number
of counterparts with the same effect as if all signing parties had signed the same document.
All counterparts shall be construed together and constitute the same instrument.

               Section 14.19 No Presumption. With regard to each and every term and
condition of this Agreement and any and all agreements and instruments subject to the terms
hereof (including the Ancillary Agreements), the parties hereto understand and agree that the
same have or has been mutually negotiated, prepared and drafted, and if at any time the
parties hereto desire or are required to interpret or construe any such term or condition or any
agreement or instrument subject hereto (including the Ancillary Agreements), no consideration
will be given to the issue of which party hereto actually prepared, drafted or requested any
term or condition of this Agreement or any agreement or instrument subject hereto (including
the Ancillary Agreements).

               Section 14.20 Expenses. Each Member shall bear all of its own expenses
incurred in connection with the preparation, execution and performance of this Agreement, the
Ancillary Agreements and any amendments, modifications or supplements thereto, except
where expressly provided herein or approved by the Board.

             Section 14.21 Headings. The section and other headings contained in this
Agreement are for reference purposes only and shall not affect the meaning or interpretation of
this Agreement.

                                   {signature page follows}




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                                  SCHEDULE E

                       BLUE CAL INITIAL CONTRIBUTED IP




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                                   SCHEDULE F




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                                  SCHEDULE G

                       BLUE CAL BACKGROUND LICENSED IP




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                           Schedule H

                BLUE CAL FUTURE LICENSED IP
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